Case 0:21-cv-61733-AHS Document 8 Entered on FLSD Docket 09/28/2021 Page 1 of 7




                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

                        CASE NO.: 21-61733-CIV-SINGHAL/Valle

 LORINZO LOVELY,

        Plaintiff,

 v.

 ANDREU, PALMA, LAVIN & SOLIS, PLLC,

      Defendant.
 __________________________________________/

          ORDER SETTING TRIAL AND PRE-TRIAL SCHEDULE, REQUIRING
      MEDIATION, AND REFERRING CERTAIN MATTERS TO MAGISTRATE JUDGE

        THIS CAUSE is set for trial during the Court’s two-week trial calendar beginning

 on June 20, 2022, at 9:00 a.m. Calendar call will be held at 10:00 a.m. on Friday, June

 17, 2022. No pre-trial conference will be held unless a party requests one at a later date

 and the Court determines that one is necessary.          Unless instructed otherwise by

 subsequent order, the trial and all other proceedings in this case shall be conducted in

 Courtroom 110 at the United States Courthouse, 299 East Broward Boulevard, Fort

 Lauderdale, Florida 33301. The parties shall adhere to the following schedule:

  10/12/2021           Parties exchange initial disclosures pursuant to Fed. R. Civ. P.
                       26(a)(1). The parties are reminded that pursuant to S.D. Fla. L.R.
                       26.1(b), initial disclosures shall not be filed with the Court unless
                       an exception noted in the Local Rules applies.

  10/26/2021           All motions to amend pleadings or join parties are filed.

  11/09/2021           The parties shall select a mediator pursuant to Local Rule 16.2,
                       shall schedule a time, date, and place for mediation, and shall
                       jointly file a notice, and proposed order scheduling mediation
                       via CM/ECF in the form specified on the Court’s website,
                       http://www.flsd.uscourts.gov. If the parties cannot agree on a
                       mediator, they shall notify the Clerk in writing as soon as possible,
                       and the Clerk shall designate a certified mediator on a blind
Case 0:21-cv-61733-AHS Document 8 Entered on FLSD Docket 09/28/2021 Page 2 of 7




                       rotation basis. Counsel for all parties shall familiarize themselves
                       with and adhere to all provisions of Local Rule 16.2. Within three
                       (3) days of mediation, the parties are required to file a mediation
                       report with the Court. Pursuant to the procedures outlined in the
                       CM/ECF Administrative Procedures, the proposed order is also
                       to be e-mailed to singhal@flsd.uscourts.gov in Word format.

  01/28/2022           Parties disclose experts and exchange expert witness summaries
                       or reports.

  02/11/2022           Parties exchange rebuttal expert witness summaries or reports.

  02/25/2022           All discovery, including expert discovery, is completed.

  03/04/2022           Parties must have completed mediation and filed a mediation
                       report.

  03/11/2022           All pre-trial motions, motions in limine, and Daubert motions
                       (which include motions to strike experts) are filed. This deadline
                       includes all dispositive motions.

  06/07/2022           Parties submit joint pre-trial stipulation in accordance with Local
                       Rule 16.1(e), proposed jury instructions and verdict form, or
                       proposed findings of fact and conclusions of law, as applicable.


        Motions in Limine. Each party is limited to filing one motion in limine. If all

 evidentiary issues cannot be addressed in a 20-page memorandum, the parties may seek

 leave to exceed the page limit. No reply will be filed unless ordered by the Court. The

 parties are reminded that motions in limine must contain the Local Rule 7.1(a)(3)

 certification.

        Daubert Motions. Each side is limited to filing one Daubert motion per expert,

 limited to 10 pages. The response shall be limited to 10 pages and no reply will be filed

 unless ordered by the Court. If all evidentiary issues cannot be addressed in a 10-page

 memorandum, the parties may seek leave to exceed the page limit. The parties are

 reminded that Daubert motions must contain the Local Rule 7.1(a)(3) certification.




                                             2
Case 0:21-cv-61733-AHS Document 8 Entered on FLSD Docket 09/28/2021 Page 3 of 7




        Summary Judgment Motions. The parties are reminded that strict compliance

 with Local Rule 56.1 is mandated. Pursuant to Local Rule 56.1(a)(2), a statement of

 material facts must be supported by specific references to pleadings, depositions,

 answers to interrogatories, admissions, and affidavits on file with the Court. In the event

 a responding party fails to controvert a movant’s supported material facts in an opposing

 statement of material facts, the movant’s material facts will be deemed admitted. See

 S.D. Fla. L.R. 56.1(b). In the interest of judicial economy, in the interest of proper and

 careful consideration of each party’s statement of material facts, and in the interest of

 determining matters on summary judgment on the merits, the Court orders the parties to

 file any statements of material facts as follows:

           1. The moving party shall file a statement of material facts as a separate filing

               from a motion for summary judgment.

           2. Each material fact in the statement that requires evidentiary support shall

               be set forth in an individually numbered paragraph and supported by a

               specific citation. This specific citation shall reference pages (and paragraph

               or line numbers, if applicable) of the cited exhibit(s). When a material fact

               requires evidentiary support, a general citation to an exhibit, without a

               page number or pincite, is not permitted.

           3. Each exhibit referenced in the motion for summary judgment and/or in the

               statement of material facts must be filed on the docket. Exhibits which have

               already been filed on the docket need not be refiled.         If a deposition

               transcript is referenced, a complete copy must be filed which includes all

               exhibits. Within twenty-four (24) hours of filing a motion for summary




                                              3
Case 0:21-cv-61733-AHS Document 8 Entered on FLSD Docket 09/28/2021 Page 4 of 7




             judgment, the movant shall separately file an index of the cited exhibits

             which names each exhibit and references the docket entry at which that

             exhibit may be found.

          4. The responding party may file an opposing statement of material facts

             which responds to the moving party’s statement of material facts.            A

             responding party’s opposing statement of material facts must specifically

             respond to each statement in the movant’s statement by setting forth each

             of the individually numbered paragraphs contained in the movant’s

             statement and after each paragraph, detail respondent’s response or

             opposition. By way of example:

             Movant’s Statement of Material Facts

             1. Blackacre is a vacant property located at 123 Main Street. Exhibit A ¶ 1.

             2. John Smith owns Blackacre. Exhibit B ¶ 12.

             Respondent’s Opposing Statement of Material Facts

             1. Blackacre is a vacant property located at 123 Main Street. Exhibit A ¶ 1.
                Admitted that Blackacre is located at 123 Main Street. Exhibit A ¶ 1.
                Denied that the property is vacant. Exhibit C at 5.

             2. John Smith owns Blackacre. Exhibit B ¶ 12.
                Denied as phrased. Admitted that the last recorded deed to Blackacre
                names John Smith. Exhibit B ¶ 12.

          5. Each exhibit referenced in the response to the motion for summary

             judgment and/or in the opposing statement of material facts must be filed

             on the docket. Exhibits which have already been filed on the docket need

             not be refiled. If a deposition transcript is relied upon, a complete copy must

             be filed which includes all exhibits. Within twenty-four (24) hours of filing


                                            4
Case 0:21-cv-61733-AHS Document 8 Entered on FLSD Docket 09/28/2021 Page 5 of 7




                a response to the motion for summary judgment, the responding party shall

                separately file an index of the cited exhibits which names each exhibit and

                references the docket entry at which that exhibit may be found.

             6. In the event that cross motions for summary judgment are filed, the Court

                may order the parties to submit a consolidated statement of material facts

                and responses as appropriate. If cross motions are anticipated, the parties

                may jointly move for an order to file consolidated statements prior to filing

                the motions for summary judgment.

        Jury Instructions and Verdict Form (if applicable). The parties shall submit

 their proposed jury instructions and verdict form jointly, although they need not agree on

 each proposed instruction. Where the parties do not agree on a proposed instruction,

 that instruction shall be set forth in bold type. Instructions proposed only by a plaintiff

 shall be underlined. Instructions proposed only by a defendant shall be italicized. Every

 instruction must be supported by citation to authority. The parties shall use as a guide

 the Eleventh Circuit Pattern Jury Instructions for Civil Cases, including the directions to

 counsel contained therein. Proposed jury instructions and verdict form, in typed form,

 including substantive charges and defenses, shall be submitted to the Court prior to

 calendar call, in Word format, via e-mail to singhal@flsd.uscourts.gov.

        Referral to Magistrate Judge. Pursuant to 28 U.S.C. § 636 and this District’s

 Magistrate Judge Rules, all discovery matters are referred to Judge Alicia O. Valle.

 Furthermore, pursuant to 28 U.S.C. § 636(c)(1), the parties may consent to trial and final

 disposition by Judge Alicia O. Valle. The deadline for submitting consent is March

 11, 2022.




                                              5
Case 0:21-cv-61733-AHS Document 8 Entered on FLSD Docket 09/28/2021 Page 6 of 7




        Discovery. The parties may stipulate to extend the time to answer interrogatories,

 produce documents, and answer requests for admissions. The parties shall not file with

 the Court notices or motions memorializing any such stipulation unless the stipulation

 interferes with the deadlines set forth above. Stipulations that would so interfere may be

 made only with the Court’s approval. See Fed. R. Civ. P. 29. In addition to the documents

 enumerated in Local Rule 26.1(b), the parties shall not file notices of depositions with the

 Court. The parties must make every effort to resolve discovery disputes without requiring

 Court intervention. Strict compliance with the Local Rules is expected, particularly with

 regard to motion practice. See S.D. Fla. L.R. 7.1.

        Discovery Disputes.       Judge Alicia O. Valle requires an expedited briefing

 schedule and shortened page limitation for discovery motions (which must contain the

 Local Rule 7.1(a)(3) certification of good faith conference) to prevent delay to the pretrial

 schedule. The parties shall file responses to discovery motions no later than seven (7)

 days after a motion is filed. No replies will be filed unless requested by the Magistrate

 Judge. Any discovery motion and response, including the incorporated memorandum of

 law, shall not exceed ten (10) double-spaced pages. The Court may impose sanctions,

 monetary or otherwise, if it determines discovery is being improperly sought or is being

 withheld in bad faith.

        Civility and Professionalism. Members of the bar and the Court are proud of the

 long tradition of courteous practice in the Southern District of Florida. Indeed, it is a

 fundamental tenet of this Court that attorneys in this District be governed at all times by

 a spirit of cooperation, professionalism, and civility. For example, and without limiting the

 foregoing, it remains the Court’s expectation that counsel will seek to accommodate their




                                              6
Case 0:21-cv-61733-AHS Document 8 Entered on FLSD Docket 09/28/2021 Page 7 of 7




 fellow practitioners, including in matters of scheduling, whenever reasonably possible and

 that counsel will work to eliminate disputes by reasonable agreement to the fullest extent

 permitted by the bounds of zealous representation and ethical practice.

        To that end, the Court advises the parties that strict compliance with the

 requirements of Local Rule 7.1(a)(3) is expected. In addition, if a motion for extension of

 time is opposed, this Court requires that the certificate of conferral state briefly the

 reason(s) for opposing counsel’s objection to the requested extension.

        The parties are further advised that the failure to comply with any of the

 procedures contained in this Order or the Local Rules may result in the imposition of

 appropriate sanctions, including, but not limited to, the dismissal of this action or entry of

 default.

        DONE AND ORDERED in Chambers, Fort Lauderdale, Florida, this 28th day of

 September 2021.




 Copies furnished to counsel of record via CM/ECF




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